             Case: 2:23-cr-00006-DLB-CJS Doc #: 93 Filed: 05/16/24 Page: 1 of 7 - Page ID#: 309
AO 245B (Rev. 09/19) Judgment in a Criminal Case
                      Sheet 1



                                         UNITED STATES DISTRICT COURT
                                    Eastern District of Kentucky - Northern Division at Covington

                                                                              )
               UNITED STATES OF AMERICA
                                                                              )
                                                                                     JUDGMENT IN A CRIMINAL CASE
                          v.                                                  )
                                                                              )
                   Cylis Christopher Jacob Rowe                                      Case Number:            2:23-CR-006-DLB-002
                                                                              )
                          AKA: Cylis Rowe                                     )      USM Number:             41499-510
                                                                              )
                                                                              )      Robert Kennedy McBride
                                                                              )      Defendant's Attorney
 THE DEFENDANT:
 0 pleaded guilt y to count(s) _2_&_6�[ccD-=E"--#---'l-'-"
                                                       3],._________________�_-----'·111,�
                                                                                     • .,·�·· .,�· ==
                                                                                                ,,,_ · =-'-· ______
 D pleaded nolo contendere to count(s)
   which was accepted by the court.
 D was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

 Title & Section      Nature of Offense                                                                                    Offense Ended            Count
   18:933(a)(3)       Conspiracy to transfer firearms to others with knowledge that the possession of the                 January 25, 2023            2
                      firearms by others would be a felony

    18:924(c)(l)      Possession of a firearm in furtherance of drug trafficking                                          January 25, 2023             6



        The defendant is sentenced as provided in pages 2 through             __7'---- of this judgm ent. The sentence is imposed pursuant to
 the Sentencing Reform Act of 1984.
 D The defendant has been found not guilty on count(s)
 0 Count(s) ----------------
            1 &4             D is                                            � are dismissed on the motion of the United States.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
  or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
  the defendant must notify the court and United States attorney of material changes in economic circumstances.




                                                                             Honorable David L. Bunning, U.S. District Judge
                                                                             Name and Title of Judge

                                                                              May 16, 2024
                                                                              Date
              Case: 2:23-cr-00006-DLB-CJS Doc #: 93 Filed: 05/16/24 Page: 2 of 7 - Page ID#: 310
AO 245B (Rev. 09/19) Judgment in a Criminal Case
                     Sheet 2 - Imprisonment

                                                                                                         Judgment - Page __,2'-- of    7
 DEFENDANT:                 Cylis Christopher Jacob Rowe AKA: Cylis Rowe
 CASE NUMBER:               2:23-CR-006-DLB-002

                                                               IMPRISONMENT

            The defendant is hereby connnitted to the custody of the Federal Bureau of Prisons to be imprisoned for a total term of:

                   Sixty four (64) Months on Ct. 2, and Sixty (60) Months on Ct. 6, To Run Consecutively,
                      FOR A TOTAL TERM OF ONE HUNDRED TWENTY FOUR (124) MONTHS

       0      The court makes the following recommendations to the Bureau of Prisons:
              That the defendant participate in the 500-Hour RDAP Program aod any additional substance abuse treatment programs for which
              he would qualify.
              That the defendant participate in a job skills and/or vocational training program.
              That the defendant participate in a mental health program,
              That the defendant be designated to a facility as close to his home as possible that offers the RDAP program.




       0      The defendant is remanded to the custody of the United States Marshal.

       D      The defendant shall surrender to the United States Marshal for this district:
            □      at   ________ □ a.m.                         □ p.m.         on __________
            D      as notified by the United States Marshal.

       D        The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
            D      before 2 p.m. on
            D      as notified by the United States Marshal.
            □      as notified by the Probation or Pretrial Services Office.

                                                                      RETURN
 I have executed this judgment as follows:




            Defendant delivered on                                                            to

 at     _______________ , with a certified copy of this judgment.


                                                                                                      UNITED STATES MARSHAL


                                                                               By--------------------
                                                                                                   DEPUTY UNITED STATES MARSHAL
             Case: 2:23-cr-00006-DLB-CJS Doc #: 93 Filed: 05/16/24 Page: 3 of 7 - Page ID#: 311
AO 245B (Rev. 09/19) Judgment in a Criminal Case
                     Sheet 3 � Supervised Release
                                                                                                       Judgment-Page -�3'-_ of             7
 DEFENDANT:                 Cylis Christopher Jacob Rowe AKA: Cylis Rowe
 CASE NUMBER:               2:23-CR-006-DLB-002

                                                       SUPERVISED RELEASE
 Upon release from imprisonment, you will be on supervised release for a term of:
                          Three (3) Years on Ct. 2, and Five (5) Years on Ct. 6, To Run Concurrently,
                                                    FOR A TOTAL OF FIVE (5) YEARS




                                                     MANDATORY CONDITIONS

  1. You must not commit another federal, state or local crime.
  2. You must not unlawfully possess a controlled substance.
  3. You must refrain from any unlawful use ofa controlled substance. You must submit to one drug test within 15 days ofrelease from
     imprisomnent and at least two periodic drug tests thereafter, as determined by the court.
            D The above drug testing condition is suspended, based on the court's determination that you
              pose a low risk of future substance abuse. (Check, ifapplicable.)
  4. □ You must make restitution in accordance witb 18 U.S.C. §§ 3663 and 3663A or any otber statute authorizing a sentence of
           restitution. (Check, ifapplicable.)
  5.   li<J You must cooperate in tbe collection of DNA as directed by the probation officer. (Check, ifapplicable.)
  6.   D You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as
            directed by the probation officer, the Bureau ofPrisons, or any state sex offender registration agency in the location where you
            reside, work, are a student, or were convicted of a qualifying offense. (Check, ifapplicable.)
  7.   D You must participate in an approved program for domestic violence. (Check, ifapplicable.)

  You must comply witb the standard conditions that have been adopted by tbis court as well as with any other conditions on the attached
  page.
             Case: 2:23-cr-00006-DLB-CJS Doc #: 93 Filed: 05/16/24 Page: 4 of 7 - Page ID#: 312
AO 2458 (Rev. 09/19) Judgment in a Criminal Case
                     Sheet 3A - Supervised Release
                                                                                                        Judgment-Page -�4 __ of              7
 DEFENDANT:                 Cylis Christopher Jacob Rowe AKA: Cylis Rowe
 CASE NUMBER:               2:23-CR-006-DLB-002

                                              STANDARD CONDITIONS OF SUPERVISION

   As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
   because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
   officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.
   l.  You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
       release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
       frame.
   2. After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
       when you must report to the probation officer, and you must report to the probation officer as instructed.
   3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
       court or the probation officer.
   4. You must answer truthfully the questions asked by your probation officer.
   5. You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
       arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
       the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
       hours of becoming aware of a change or expected change.
   6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
       take any items prohibited by the conditions of your supervision that he or she observes in plain view.
   7. You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
       doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
       you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
       responsibilities), you must noti fy the probation officer at least 10 days before the change. If notifying the probation officer at least 10
       days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of becoming
       aware of a change or expected change.
   8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
       convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
       probation officer.
   9. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
   10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that.was
       designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
   11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
       first getting the permission of the court.
   12. If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
       require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
       person and confirm that you have notified the person about the risk.
   13. You must follow the instructions of the probation officer related to the conditions of supervision.
   14. You must comply strictly with the orders of your physicians or other prescribing source with respect to the use of any prescribed
       controlled substances. You must report any changes regarding your prescriptions to your probation officer immediately (i.e., no later
       than 72 hours). The probation officer may verify your prescriptions and your compliance with this paragraph.


  U.S. Probation Office Use Only

  A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
  judgment containing these conditions. For further information regarding these conditions, see Overview ofProbation and Supervised
  Release Conditions, available at: www.uscourts.gov.




  Defendant's Signature                                                                        Date ______________
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AO 245B (Rev. 09/19) Judgment in a Criminal Case
                     Sheet 3D � Supervised Release
                                                                                          Judgment-Page __s
                                                                                                          __
                                                                                                                of   ----
                                                                                                                       7
 DEFENDANT:                 Cylis Christopher Jacob Rowe AKA: Cylis Rowe
 CASE NUMBER:               2:23-CR-006-DLB-002


                                            SPECIAL CONDITIONS OF SUPERVISION
                    I. You must participate in a substance abuse treatment program and follow the rules and regulations
                    of that program. You will attend when required and participate during sessions. You will contribute
                    to the cost of services, based upon the agreed cost directive, previously approved by the Court and
                    in place with the probation office. The probation officer will supervise your participation in the
                    program.
                    2. You must participate in urinalysis testing, or any other form of substance abuse testing, as
                    directed by the probation officer. You must refrain from obstructing or attempting to obstruct or
                    tamper, in any fashion, with the efficiency and accuracy of any prohibited substance testing which
                    is required as a condition of your release. You must not knowingly use or consume any substance
                    that interferes with the accuracy of substance abuse testing.
                    3. You must not use or consume marijuana, or marijuana products, even if such controlled
                    substance were to be prescribed to you by a physician, licensed professional or other person, and
                    even if the substance may be legally distributed and/or consumed in the jurisdiction. Further, you
                    may not purchase, possess, or use CBD oils or products without written permission and approval
                    from the U.S. Probation Office.
                    4. You must participate in a mental health treatment program. You will contribute to the cost of
                    services, based upon the agreed cost directive, previously approved by the Court and in place with
                    the probation office. The probation officer, in consultation with the treatment provider, will
                    supervise your participation in the program.
                    5. You must submit your person, properties, homes, residences, vehicles, storage units, papers,
                    computers (as defined in 18 U.S.C. § 1030(e)(l), but including other devices excluded from this
                    definition), other electronic communications or cloud storage locations, data storage devices or
                    media, or offices, to a search conducted by a United States probation officer. Failure to submit to
                    a search will be grounds for revocation of release. You must warn any other occupants that the
                    premises may be subject to searches pursuant to this condition.
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AO 245B (Rev. 09/19) Judgment in a Criminal Case
                     Sheet 5 � Criminal Monetary Penalties

                                                                                                           Judgment - Page ___c6'----- of      7
 DEFENDANT:                 Cylis Christopher Jacob Rowe AKA: Cylis Rowe
 CASE NUMBER:               2:23-CR-006-DLB-002

                                                  CRIMINAL MONETARY PENALTIES

         The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                    Assessment                        Restitution                    Fine               AV AA Assessment*        JVTA Assessment**
 TOTALS         $ 200 ($IOOICT)                   $ NIA                          $ Waived             $ NIA                   $ NIA

  D The determination of restitution is deferred until                           An Amended Judgment in a Criminal Case (AO 245C) will be entered
    after such determination.
  D The defendaot must make restitution (including community restitution) to the following payees in the amount listed below.

       If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
       the priority order or percentage payment column below. However, pursuaot to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
       before the United States is paid.

 Name of Payee                                   Total Loss***                         Restitution Ordered                   Priority or Percentage




  TOTALS                                  $ _______                                $ _________

  D Restitution amount ordered pursuaot to plea agreement $
  D The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fme is paid in full before the
    fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
    to penalties for delinquency aod default, pursuant to 18 U.S.C. § 3612(g).
 D     The court determined that the defendaot does not have the ability to pay interest aod it is ordered that:
       D the interest requirement is waived for the                □       fme   D     restitution.
       □ the interest requirement for the              □     fme       □     restitution is modified as follows:

 • Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
 •• Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
 *** Findings for the total amount oflosses are required under Chapters 109A, 110, l lOA, aod 113A ofTitle 18 for offenses committed on or
 after September 13, 1994, but before April 23, 1996.
             Case: 2:23-cr-00006-DLB-CJS Doc #: 93 Filed: 05/16/24 Page: 7 of 7 - Page ID#: 315
AO 245B (Rev. 09/19)    Judgment in a Criminal Case
                        Sheet 6A � Schedule of Payments

                                                                                                             Judgment - Page __:_7__ of              7
 DEFENDANT:                  Cylis Christopher Jacob Rowe AKA: Cylis Rowe
 CASE NUMBER:                2:23-CR-006-DLB-002

                                                          SCHEDULE OF PAYMENTS
   Having assessed.the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

   A     lZI Lump sum payment of$              200.00                due immediately, balance due

              □        not later than                                   , or
                       in accordance with      □     C,   □     D,      □ E, or     lZI F below; or

   B     □ Payment to begin immediately (may be combined with                     □ C,       □      D, or     □ F below); or
   C     D Payment in equal ______ (e.g., weekly, monthly, quarterly) installments of $ _______ over a period of
                        (e.g., months or years), to commence _____ (e.g., 30 or 60 days) after the date of this judgment; or

   D     D Payment in equal ______ (e.g., weekly, monthly, quarterly) installments of $ ______ over a period of
                        (e.g., months or years), to commence _____ (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

   E     D Payment during the term of supervised release will commence within    _____ (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

   F     lZI Special instructions regarding the payment of criminal monetary penalties:

              Criminal monetary penalties are payable to:
              Clerk, U. S. District Court, Eastern District of Kentucky
              35 West 5th Street, Room 289, Covington, KY 41011-1401

              INCLUDE CASE NUMBER WITH ALL CORRESPONDENCE

         Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
         the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial
         Responsibility Program, are made to the clerk of the court.

          The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

   D     Joint and Several

         Case Number
         Defendant and Co-Defendant Names
         (including defendant number)                         Total Amount        Joint and Several Amount    Corresponding Payee, if appropriate


   D     The defendant shall pay the cost of prosecution.

   D     The defendant shall pay the following court cost(s):

   0     The defendant shall forfeit the defendant's interest in the following property to the United States:


   Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, ( 4) AVAA assessment,
   (5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs, including cost of
   prosecution and court costs.
